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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


    SECURITIES AND EXCHANGE
    COMMISSION                                            No. 16-CV-10670-MBB

        v.

    ROBERT J. RAFFA


              ASSENTED-TO MOTION TO CONTINUE ANSWER DEADLINE

        Defendant, Robert J. Raffa, by and through undersigned counsel,1 with the assent of the

SEC, respectfully moves to continue the deadline by which he must file an answer through and

including June 27, 2016. As grounds therefor, additional time will permit Mr. Raffa to

determine whether he can retain counsel to represent him in this matter and will also afford the

parties an opportunity to discuss whether or not these proceedings should be stayed pending

disposition of the parallel criminal case.

                                             Respectfully submitted,

                                             ROBERT J. RAFFA
                                             by his attorney

                                             /s/ William Fick
                                             WILLIAM W. FICK, ESQ. (BBO # 650562)
                                             FEDERAL PUBLIC DEFENDER OFFICE
                                             51 Sleeper Street, 5th Floor
                                             Boston, MA 02210
                                             (617) 223-8061
                                             WILLIAM_FICK@FD.ORG




1
 Undersigned counsel is appointed under the CJA to represent Mr. Raffa in the parallel criminal
case, United States v.Raffa, No. 16-CR-10125-PBS. Pursuant to that appointment, undersigned
counsel cannot provide ongoing general representation in this civil case but files the instant
motion ancillary to the CJA appointment in order to protect Mr. Raffa’s Fifth Amendment rights.



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                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on May 25, 2016.

                                              /s/ William Fick




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